         Case 3:12-cr-00004-MPS Document 114 Filed 10/16/20 Page 1 of 9




                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT


   UNITED STATES OF AMERICA,

           Plaintiff,
                                                            No. 3:12-cr-00004 (MPS)
           v.

   KOUWANII BRUNSTORFF,

           Defendant.


                RULING ON MOTION FOR COMPASSIONATE RELEASE

       Defendant Kouwanii Brunstorff is serving a sentence of imprisonment at Schuylkill

Federal Correctional Institution in Pennsylvania and has filed a motion under 18 U.S.C. §

3582(c)(1)(A) for a reduction in his term of imprisonment due to the health risk posed by the

COVID-19 virus. ECF No. 98. The Government filed a memorandum opposing Brunstorff’s

motion. ECF No. 105. I have carefully considered these materials and the exhibits attached

thereto, as well as Brunstorff’s additional memoranda supporting his motion and the exhibits

attached thereto (ECF Nos. 104, 108, 112-1), and other exhibits submitted by Brunstorff (ECF

Nos. 103, 103-1 to 103-11, 107, 111). For the reasons that follow, Brunstorff’s motion is denied.

       On January 5, 2012, a grand jury returned an indictment charging Brunstorff with the

unlawful possession of firearms by a convicted felon (Count 1) and the unlawful possession of

ammunition by a convicted felon (Count 2), both in violation of 18 U.S.C. §§ 922(g)(1) and 924(e).

ECF No. 1. On March 30, 2012, he pled guilty to count one of the indictment before the Honorable

Ellen Bree Burns. ECF Nos. 39, 45. On August 10, 2012, Judge Burns sentenced the defendant
          Case 3:12-cr-00004-MPS Document 114 Filed 10/16/20 Page 2 of 9




to the mandatory minimum 1 of 180 months’ imprisonment and 5 years on supervised release. ECF

Nos. 85, 88. On June 13, 2016, Brunstorff’s case was reassigned to me. ECF No. 97. Brunstorff

has been in custody since March 23, 2011 and has served approximately 9 years and 7 months of

his sentence. ECF No. 68 at 1. His projected date of release is June 11, 2024.2

        Section 3582(c)(1)(A) authorizes courts to modify terms of imprisonment as follows:

        [T]he court . . . upon motion of the defendant after the defendant has fully exhausted all
        administrative rights to appeal a failure of the Bureau of Prisons to bring a motion on the
        defendant’s behalf or the lapse of 30 days from the receipt of such a request by the warden
        of the defendant’s facility, whichever is earlier, may reduce the term of imprisonment
        (and may impose a term of probation or supervised release with or without conditions
        that does not exceed the unserved portion of the original term of imprisonment), after
        considering the factors set forth in section 3553(a) to the extent that they are applicable,
        if it finds that . . . extraordinary and compelling reasons warrant such a reduction . . . and
        that such a reduction is consistent with applicable policy statements issued by the
        Sentencing Commission[.]

18 U.S.C. § 3582(c)(1)(A). Under this section, as modified by the First Step Act of 2018, Pub. L.

No.115-391, 132 Stat. 5239, I am free “to consider the full slate of extraordinary and compelling

reasons that an imprisoned person might bring before [the court] in motions for compassionate

release.” United States v. Brooker, No. 19-3218-CR, 2020 WL 5739712, at *7 (2d Cir. Sept. 25,

2020) (“Neither Application Note 1(D), nor anything else in the now-outdated version of Guideline

§ 1B1.13, limits the district court’s discretion.”). As a result, because Brunstorff – and not the

Bureau of Prisons (“BOP”) – brings the instant motion, I am not bound by the Sentencing

Commission’s outdated policy statement applicable to Section 3582(c)(1)(A), see U.S.S.G. §

1B1.13, which the Second Circuit recognized as only applying to motions for sentence reduction

brought by the BOP. Brooker, 2020 WL 5739712, at *1, 6 (“hold[ing] that Application Note 1(D)



1
  Because Brunstorff had three qualifying predicate convictions, the offense for which he is currently incarcerated
triggered the enhanced sentencing provision of the Armed Career Criminal Act. See ECF No. 68 ¶ 50; see also ECF
No. 45 at 1-2.
2
  Federal Bureau of Prisons, Find an Inmate, https://www.bop.gov/inmateloc (last visited October 14, 2020).


                                                        2
          Case 3:12-cr-00004-MPS Document 114 Filed 10/16/20 Page 3 of 9




does not apply to compassionate release motions brought directly to the court by a defendant under

the First Step Act . . .”; rather, this Guideline “only [applies] to those motions that the BOP has

made” under this Act).         However, “[r]ehabilitation . . . alone shall not be considered an

extraordinary and compelling reason.” Brooker, 2020 WL 5739712, at *8 (citing 28 U.S.C. §

994(t)) (emphasis in original).

        Therefore, I may reduce Brunstorff’s term of imprisonment if (1) he has fully exhausted

his administrative remedies or 30 days have passed from receipt of his request by the Warden, and

(2) I find, after considering the Section 3553(a) factors, that “extraordinary and compelling reasons

warrant” a reduction of his term of imprisonment.

        As the Government acknowledges, ECF No. 105 at 7, Brunstorff has met the exhaustion

requirement because he filed a request for compassionate release with the Bureau of Prisons on

April 2, 2020, ECF No. 103-1, and the Warden denied that request on June 1, 2020, ECF No. 103-

2. As to the merits of Brunstorff’s motion, I find that, when all of the circumstances including the

Section 3553(a) factors are considered, he has not shown that there exist “extraordinary and

compelling reasons” to warrant a reduction of his term of imprisonment.

        Brunstorff argues that he is at high risk for serious illness or death from COVID-19 because

of obesity, a history of smoking, hypertension, prediabetes, and asthma. ECF No. 104 at 1.

Brunstorff is currently 43 years old, id. at 26, so his age alone does not place him at increased risk

of a severe illness under the guidelines developed by the Centers for Disease Control and

Prevention (“CDC”).3




3
  According to the Centers for Disease Control and Prevention (“CDC”), “the risk for severe illness from COVID-19
increases with age, with older adults at highest risk.” Centers for Disease Control and Prevention, Older Adults,
https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/older-adults.html (last visited October 14,
2020). Age-related risk increases on a sliding scale, and the “greatest risk for severe illness from COVID-19 is
among those aged 85 or older.” Id.


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          Case 3:12-cr-00004-MPS Document 114 Filed 10/16/20 Page 4 of 9




        As the Government concedes, ECF No. 105 at 8, Brunstorff’s obesity places him at

increased risk of severe illness from COVID-19 under the CDC guidelines. As of August 2020,

Brunstorff weighed 241 lbs (ECF No. 111) which, at 5’11” (ECF No. 103-4 at 24), yields a BMI

of 33.6.4 According to the Centers for Disease Control and Prevention (“CDC”), “[p]eople of any

age with certain underlying medical conditions are at increased risk for severe illness from

COVID-19.”5 Obesity, defined as a BMI of 30 or greater, is one of these underlying medical

conditions.6

        Brunstorff also argues that his history of smoking cigarettes may increase his risk from

COVID-19. ECF No. 104 at 22-23; see also ECF No. 103-4 at 50 (Brunstorff noting, in 2012, that

he has smoked a quarter-pack of a cigarettes per day for 10 years). According to the CDC, “[b]eing

a current or former cigarette smoker increases your risk of severe illness from COVID -19.”7 Thus,

assuming Brunstorff’s report of his history of smoking is true, and I have no reason to believe that

it is not, his past use of cigarettes increases his risk of severe illness from COVID-19.

        Brunstorff’s other claimed risk factors of hypertension, prediabetes, and asthma do not

appear to increase his risk of severe illness from COVID-19. Brunstorff argues that he faces an

increased risk from COVID-19 because his “blood pressure was elevated multiple times between

2013 and 2020 . . .”, ECF No. 104 at 14, and that his prior readings “indicate Stage 1 hypertension

. . “, id., and Stage 2 hypertension, ECF No. 112-1 at 1. According to the CDC, having

“hypertension (high blood pressure) . . . may increase [a person’s] risk of severe illness from



4
  Centers for Disease Control and Prevention, Adult BMI Calculator,
https://www.cdc.gov/healthyweight/assessing/bmi/adult_bmi/english_bmi_calculator/bmi_calculator.html (last
visited October 14, 2020).
5
  Centers for Disease Control and Prevention, People with Certain Medical Conditions,
https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-medical-conditions.html (last
visited October 14, 2020).
6
  Id.
7
  Id.


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          Case 3:12-cr-00004-MPS Document 114 Filed 10/16/20 Page 5 of 9




COVID-19.”8 Brunstorff points to his recent blood pressure readings that are consistent with stage

1 or stage 2 hypertension as evidence of this risk factor.9 See ECF No. 111 (blood pressure reading

of 134/98 on 8/24/2020); ECF No. 107 at 2 (blood pressure reading of 128/84 on 8/4/2020); ECF

No. 103-10 at 21 (blood pressure reading of 122/88 on 3/17/2020); ECF No. 103-8 at 1 (blood

pressure reading of 136/86 on 8/24/2018). But other recent readings reflect a normal blood

pressure, see, e.g., ECF No. 103-10 at 21 (blood pressure reading of 116/71 on 11/12/2019); id. at

17 (blood pressure reading of 118/74 on 10/28/2019); id. at 18 (blood pressure reading of 118/73

on 2/26/2018); id. (blood pressure reading of 114/75 on 8/7/2017), and Brunstorff does not point

to any evidence that he has been diagnosed with, or treated for, hypertension. Indeed, according

to the Mayo Clinic, a “doctor will likely take two to three blood pressure readings each at three or

more separate appointments before diagnosing [a patient] with high blood pressure. This is

because blood pressure normally varies throughout the day, and it may be elevated during visits to

the doctor [due to] []white coat hypertension[].”10 Brunstorff also denied having hypertension on

October 28, 2019 during a dental screening visit. Id. at 33. Thus, Brunstorff likely does not face

any increased risk of severe illness from COVID-19 based on his blood pressure readings, but,

based on my discussion of the Section 3553(a) factors below, I would reach the same result even



8
  Id.
9
  Blood pressure measurements falls into four general categories:
          Normal blood pressure is below 120/80 mm Hg.
          Elevated blood pressure is a systolic pressure ranging from 120 to 129 mm Hg and a diastolic pressure
          below 80 mm Hg.
          Stage 1 hypertension is a systolic pressure ranging from 130 to 139 mm Hg or a diastolic pressure ranging
          from 80 to 89 mm Hg.
          Stage 2 hypertension is a systolic pressure of 140 mm Hg or higher or a diastolic pressure of 90 mm Hg or
          higher.
Mayo Clinic, High Blood Pressure (hypertension), https://www.mayoclinic.org/diseases-conditions/high-blood-
pressure/diagnosis-treatment/drc-20373417 (last visited October 14, 2020).
10
   Id. According to Wikipedia, “white coat hypertension,” more commonly known as white coat syndrome, is a
phenomenon in which people exhibit a blood pressure level above the normal range, in a clinical setting, although
they do not exhibit it in other settings. It is believed that the phenomenon is due to anxiety experienced during a
clinic visit.


                                                         5
             Case 3:12-cr-00004-MPS Document 114 Filed 10/16/20 Page 6 of 9




if he did.

           Brunstorff also argues that his “prediabetes further exposes him to serious illness or death

from COVID-19.” ECF No. 104 at 19. He points to blood sugar readings from 2018 and 2016

that he asserts put him at “increased risk” of developing diabetes. Id. at 19-20. But Brunstorff

denied actually having diabetes on October 28, 2019. ECF No. 103 -10 at 33. According to the

CDC, type 2 diabetes increases a person’s risk of severe illness, and type 1 or gestational diabetes

may increase a person’s risk, but the CDC does not identify a “risk” of diabetes as increasing a

person’s risk of severe illness. 11 Thus, even if Brunstorff’s assertion is true that he may face some

risk of developing diabetes, that risk does not appear to increase his risk of severe illness from

COVID-19 under the current CDC guidelines. Again, however, even if it did, I would reach the

same result based on the Section 3553(a) factors.

           Lastly, Brunstorff argues that his asthma presents another COVID risk factor. But the only

evidence he identifies supporting his claim that he suffers from asthma comes from 2012. See

ECF No. 104 at 23; ECF No. 68 at 13, ¶ 43. Even then, however, the report indicates that

Brunstorff “[was] not . . . on any medication or under a doctor’s care.” ECF No. 68 at 13, ¶ 43.

And Brunstorff points to no other evidence that he suffers from, or was ever treated for, asthma.

The CDC identifies “moderate-to-severe asthma” as a factor that “may increase [a person’s] risk

for severe illness from COVID-19.”12 On October 28, 2019, Brunstorff denied having any

respiratory or cardiovascular conditions. ECF No. 103-10 at 33-34. Thus, because Brunstorff

does not identify any evidence suggesting that he suffers from “moderate-to-severe” asthma, he

does not appear to face any increased risk of severe illness from COVID-19 based on this factor.

Once again, even if he did, I would reach the same result based on the Section 3553(a) factors.


11
     Centers for Disease Control and Prevention, People with Certain Medical Conditions, supra note 5.
12
     Id.


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          Case 3:12-cr-00004-MPS Document 114 Filed 10/16/20 Page 7 of 9




        While Brunstorff faces an increased risk from COVID-19 under the CDC guidelines due

to his obesity and history of smoking,13 I find that these conditions are insufficient to qualify as an

“extraordinary” or “compelling” reason warranting a reduction in his term of imprisonment when

the factors in 18 U.S.C. § 3553(a) are taken into account, as they must be under Section

3582(c)(1)(A). And although Brunstorff takes pains to explain the general danger posed by

COVID-19, see ECF No. 104 at 4-12, he has not demonstrated that there is any elevated risk of

exposure at FCI Schuylkill compared with other prison facilities. Indeed, according to the BOP,

FCI Schuylkill has reported only one staff member infected and one inmate recovered from

COVID-19.14 In any event, here, the Section 3553(a) factors—especially the need to protect the

public—weigh heavily against the requested reduction in his term of imprisonment.

        Brunstorff has a long criminal record that includes three convictions for violent offenses.

See ECF No. 68 ¶ 12 (“[T]he parties agree that he is an armed career criminal based on three or

more violent felony offenses committed on different occasions. . . . includ[ing his convictions in

1994 and 1999.]”). In January 1994, at the age of 16, Brunstorff was convicted of two counts of

robbery in the first degree, both of which appear to have involved a firearm. ECF No. 105 -1 at 1,

3, 8; see also ECF No. 68 ¶ 21. He received a sentence of 2 to 6 years in prison on each count to

be served concurrently. ECF No. 68 ¶ 21. Brunstorff was paroled in March 1999, absconded from

parole, was returned to custody in June 1999, and was released one month later. Id. During this

period of incarceration, at the age of 20, Brunstorff was charged and pled guilty to assault and

attempted assault in the second degree for conduct involving “slashing [another inmate] with a


13
   The CDC guidelines state that, with respect to people with multiple underlying conditions: “The more underlying
medical conditions someone has, the greater their risk is for severe illness from COVID-19.” Id. As a result,
Brunstorff’s obesity and history of smoking appear to increase his overall risk level more together than each
condition would on its own. The CDC does not provide any indication of the extent of the increased risk due to
multiple underlying conditions.
14
   Federal Bureau of Prisons, COVID-19 Update, https://www.bop.gov/coronavirus/index.jsp (last visited October
14, 2020).


                                                        7
         Case 3:12-cr-00004-MPS Document 114 Filed 10/16/20 Page 8 of 9




single edge razor . . .” and “slash[ing] a corrections officer (CO) with a razor blade . . .”, id. ¶ 22.

In 2004, at the age of 26, Brunstorff was convicted of criminal possession of a controlled substance

(cocaine) in the fourth degree. Id. ¶ 25. (The arrest report of the incident indicated that Brunstorff

was found in possession of a loaded .40 caliber Beretta firearm, although he was not convicted for

this alleged conduct.) Id. He received a sentence of 3 to 6 years’ incarceration and was released

in December 2009. Id. Then, in 2012—well into his thirties—Brunstorff pled guilty and was

sentenced to 15 years in prison for the offenses for which he is currently incarcerated, which

included felony possession of ammunition and multiple firearms. Id. ¶ 25; ECF Nos. 85, 88. While

Brunstorff’s convictions involving violence and threats of violence occurred when he was in his

teens and twenties, his more recent record strongly suggests that he has not entirely left behind his

use of violence or threats of violence. His latest conviction for felony possession of guns and

ammunition occurred in his thirties. More recently, his admission that he made a shank out of

plexiglass and hid it in his cell occurred just one year ago – while in his early 40s and while serving

the term of imprisonment he now asks the Court to reduce. See ECF Nos. 105-2, 105-3. As a

result, after considering the facts here in light of the 3553(a) factors, I cannot find that Brunstorff

has made an extraordinary or compelling case for a reduction in his term of imprisonment. When

combined with his criminal record, his recent disciplinary history at the BOP, see ECF Nos. 105-

4, 105-5—especially his fashioning of a serious weapon—leads me to conclude that further prison

time is necessary to protect the public, in spite of his increased vulnerability to COVID-19.

        I do not take lightly the danger that COVID-19 poses to inmates—and especially those that

are medically vulnerable. And although Brunstorff has demonstrated he faces an increased risk of

severe illness from COVID-19 based on his obesity and history of smoking, I find that, when the

Section 3553(a) factors—and especially his lengthy and violent criminal history and his recent




                                                   8
          Case 3:12-cr-00004-MPS Document 114 Filed 10/16/20 Page 9 of 9




disciplinary history at the BOP—are accounted for in this case, the risk to Brunstorff’s health

posed by COVID-19 does not move the needle to the “extraordinary and compelling” level that

would warrant ending his term of imprisonment. I therefore must deny this motion.

         For the foregoing reasons, Brunstorff’s motion to reduce sentence (ECF No. 98) is

DENIED.



                                                          IT IS SO ORDERED.


                                                                       /s/
                                                            Michael P. Shea, U.S.D.J.


Dated:         Hartford, Connecticut
               October 16, 2020




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